Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 1 of 6 Page ID #:19486


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10
11                          UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
                                 EASTERN DIVISION
13
14    RAUL NOVOA, JAIME CAMPOS                      Civil Action No. 5:17-cv-02514-JGB-
15    FUENTES, ABDIAZIZ KARIM, and                  SHKx
      RAMON MANCIA, individually and
16    on behalf of all others similarly situated,   JOINT STATUS REPORT
17
                           Plaintiffs,
18
19    v.
20    THE GEO GROUP, INC.,
21                         Defendant.
22
23
24             Per the Court’s Order (Dkt 561), Raul Novoa, Jaime Campos Fuentes, Abdiaziz
25    Karim, and Ramon Mancia, and The GEO Group, Inc., (collectively, the “Parties”)
26    hereby file this Joint Status Report regarding the appellate proceedings in Nwauzor v.The
27    GEO Group, Inc., No. 3:17-cv-05769-RJB (W.D. Wash.), appeal docketed, No. 21-36024
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30         JOINT STATUS REPORT                                           5:17-CV-02514-JGB

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Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 2 of 6 Page ID #:19487


 1    (9th Cir. Jan. 11, 2022), and Washington v. The GEO Group, Inc., No. 3:17-cv-05806-RJB
 2    (W.D. Wash.), appeal docketed, No. 21-36025 (9th Cir. Jan.11, 2022).
 3           1.     On January 11, 2022, the Court granted Defendant-Appellant The GEO
 4   Group, Inc.’s (“GEO”) Request to Consolidate and ordered Appeal Nos. 21-36024 and
 5   21-36025 to be consolidated (“the Consolidated Washington Appeals”).
 6           2.     On March 21, 2022 , GEO filed its Opening Brief.
 7           3.     On May 20, 2022, Plaintiff-Appellee the State of Washington filed its
 8   Answering Brief.
 9           4.     On May 24, 2022, Plaintiffs-Appellees Ugochukwo Goodluck Nwauzor
10   and Fernando Aguirre-Urbina filed their Answering Brief.
11           5.     On June 14, 2022, GEO filed its Reply Brief.
12           6.     On June 17, 2022, the United States Court of Appeals for the Ninth Circuit
13   issued a notice on its docket regarding the Consolidated Washington Appeals which
14   stated, in pertinent part:
15                  This case is being considered for an upcoming oral argument calendar
16                  in Seattle.
                    Please review the Seattle sitting dates for October 2022 and the 2
17                  subsequent sitting months in that location at
18                  http://www.ca9.uscourts.gov/court_sessions. If you have an
19                  unavoidable conflict on any of the dates, please file Form 32 within 3
                    business days of this notice using the CM/ECF filing type Response
20                  to Case Being Considered for Oral Argument. Please follow the
21                  form's instructions carefully.
22
                    When setting your argument date, the court will try to work around
23                  unavoidable conflicts; the court is not able to accommodate mere
24                  scheduling preferences. You will receive notice that your case has been
25                  assigned to a calendar approximately 10 weeks before the scheduled
                    oral argument date.
26
             In response to the notice, GEO’s appellate counsel indicated to the Court that
27
     they had no unavoidable conflicts with any of the proffered Seattle sitting dates.
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30      JOINT STATUS REPORT                                               5:17-CV-02514-JGB

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Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 3 of 6 Page ID #:19488


 1          7.    To date, oral argument has not been set.
 2
      Dated: June 30, 2022                  Respectfully submitted,
 3
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Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 4 of 6 Page ID #:19489


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30      JOINT STATUS REPORT                                     5:17-CV-02514-JGB

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Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 5 of 6 Page ID #:19490


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Case 5:17-cv-02514-JGB-SHK Document 567 Filed 06/30/22 Page 6 of 6 Page ID #:19491


 1                                CERTIFICATE OF SERVICE
 2           I electronically submitted the foregoing document with the clerk of the court for
 3    the U.S. District Court, Central District of California, using the electronic case filing
 4    system. I hereby certify that I have provided copies to all counsel of record electronically
 5    or by another manner authorized by Fed. R. Civ. P. 5(b)(2).
 6
      Dated: June 30, 2022
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